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 5
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 7
 8
 9                              UNITED STATES DISTRICT COURT
10                            EASTERN DISTRICT OF CALIFORNIA
11
12
      UNITED STATES OF AMERICA,                              Cr. S-06-0058 FCD
13
                            Plaintiff,                       STIPULATION CONTINUING
14                                                           HEARING ON PETITION TO
                    vs.                                      UNSEAL ATTACHMENT B
15                                                           APPLICANTS AND ORDER
      JAGPRIT SEKHON, et al.,
16
                            Defendants.
17
18          IT IS HEREBY STIPULATED between the United States of America, through its attorneys
19 of record, Benjamin B. Wagner and Camil A. Skipper, Assistant U.S. Attorneys; and, all defendants,
20 through their designee, attorney for defendant Jagdip Singh Sekhon, David W. Dratman, that the
21 hearing before the Honorable Gregory G. Hollows, United States Magistrate Judge, on the
22 Government’s Petition to Unseal Attachment B applicants,
23 //
24 //
25 //
26 //
27 //
28 STIPULATION CONTINUING HEARING ON PETITION TO UNSEAL ATTACHMENT
   B APPLICANTS AND [PROPOSED] ORDER
   United States v. Jagprit Sekhon, et al.
   [CR. S-06-0058 FCD]
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 1 //
 2 be continued from February 8, 2007 at 10:00 a.m. to March 8, 2007 at 10:00 a.m.
 3
 4 Dated: February 7, 2007                            /s/David W. Dratman       *
                                                      DAVID W. DRATMAN
 5                                                    Attorney for Defendant
                                                      JAGDIP SINGH SEKHON
 6                                                    *On behalf of all defendants
 7 Dated: February 7, 2007                            McGREGOR W. SCOTT
                                                      UNITED STATES ATTORNEY
 8
 9                                                    By:/s/ Benjamin B. Wagner *
                                                        BENJAMIN B. WAGNER
10                                                      CAMIL A. SKIPPER
                                                        Assistant U.S. Attorneys
11                                                      *Signed with permission
12
13                                             ORDER
14         It is so ordered.
15 Dated: 2/13/07
                                                      /s/ Gregory G. Hollows
16                                                    __________________________________
                                                      HON. GREGORY G. HOLLOWS
17                                                    United States Magistrate Court Judge
18 sekhon.ord
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28 STIPULATION CONTINUING HEARING ON PETITION TO UNSEAL ATTACHMENT
   B APPLICANTS AND [PROPOSED] ORDER
   United States v. Jagprit Sekhon, et al.
   [CR. S-06-0058 FCD]
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